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17
                       IN THE UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                   SOUTHERN DIVISION
20
21      MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and           )
22      CERCACOR LABORATORIES, INC.,          ) PLAINTIFFS’ OPPOSITION TO
        a Delaware corporation                ) APPLE’S MOTION TO EXCLUDE
23                                            ) OPINIONS AND TESTIMONY OF
                 Plaintiffs,                  ) PLAINTIFF’S EXPERT JEFFREY
24                                            ) KINRICH
            v.                                )
25                                            ) Date: Feb. 6, 2023
        APPLE INC., a California corporation )) Time: 1:30 pm
26                                               Place: Courtroom 10C
                 Defendant.                   )
27                                            )
                                              )
28                       REDACTED VERSION OF DOCUMENT
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1                                       I. INTRODUCTION
2            Apple presumes the Court’s Order striking-in-part two Rule 26(a)(2)(C)
3      disclosures prevents Kinrich from relying on underlying evidence discussed in those
4      disclosures. But the Court explained it was not deciding how its Order impacted the
5      opinions of other experts, like Kinrich. The Court explained the admissibility of such
6      opinions would depend on the “sufficiency of the report and the bases for the opinions.”
7            Kinrich cited to the Rule 26(a)(2)(C) disclosures in his report, but his opinions
8      were not contingent on those witnesses testifying at trial consistent with their disclosure.
9      Kinrich relied on the evidence discussed in those disclosures. Kinrich, like any other
10     expert, may rely on evidence even if it is not admitted at trial. Kinrich’s opinions are
11     based on factual evidence on which experts may reasonably rely. Nevertheless, Kinrich
12     also provided a supplement using the same methodology and analysis as his original
13     report without relying on the underlying evidence that Apple challenged.
14           Finally, Apple essentially seeks summary judgment on causation through this
15     Daubert motion. But Kinrich does not opine on causation. Kinrich assumed Masimo
16     will prove liability and causation. Apple acknowledges Kinrich’s assumptions. Apple
17     presumes, but fails to show, that the only facts supporting Kinrich’s assumptions were
18     from excluded portions of other’s opinion disclosures. As explained below, Masimo
19     will present ample factual evidence for the jury to find liability and causation.
20                                       II. BACKGROUND
21     A.    Apple
22           In 2013
23
24
25                                                                               Apple wanted to
26     “dig deep” into Masimo’s “optical technology and algorithms.”                   Ex. D at
27     MASA03217800.
28           By summer 2013,

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5                                                                                    Apple
6      hired Masimo’s Chief Medical Officer, Michael O’Reilly.
7            In September 2013,
8                                                                               In October
9      2013, Marcelo Lamego (Cercacor’s Chief Technical Officer) emailed Tim Cook.
10     Lamego referenced his 10 years of experience at Masimo and Cercacor and offered to
11     solve Apple’s problems in exchange for a senior technical position. Ex. G.
12
13
14
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21     B.    Masimo
22
23                        Masimo developed smaller monitors for hospitals, including Radius
24     7 (left) and the wrist-worn Radius PPG pulse oximeter (right).
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8          In 2019,
9                                                 By late 2019,
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11                                      Masimo sold the first W1 in December 2021 and
12   announced a limited-market release in May 2022. Id. at 6. Masimo submitted the W1
13   for FDA clearance and announced the full market release in August 2022. Id. at 11.
14   Below is a picture of the Masimo W1.
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18   C.   Masimo Disclosed its Theories and Supporting Evidence in Discovery
19        Masimo contends that, if Apple had not misappropriated Masimo’s trade secrets,
20                                                . Masimo told Apple:
21
22
23                                            Masimo explained that
24
25
26                                        Masimo also explained that
27
28   Masimo explained

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1                                                            Masimo explained
2
3
4          Masimo also disclosed
5
6                                        Masimo explained
7                                                                  Masimo disclosed
8                                                             Masimo offered
9                                       Masimo also disclosed                          .
10         Development Costs. Masimo disclosed                                             are
11   relevant to Masimo’s damages.
12                                           Apple had already taken extensive discovery on
13
14                                                                          Masimo produced
15   that discovery in this case and the parties agreed that all ITC discovery is available for
16   use in this case. Ex. P. Masimo then
17
18
19         On August 18, 2022, before the expert report deadline, Masimo
20                                                                     Masimo told Apple
21
22
23          Apple                                              Masimo
24
25
     1
26     On January 10, 2023, the ALJ in the ITC investigation issued an initial determination,
     finding Masimo satisfied the economic prong of the domestic industry requirement,
27
     based on its development costs for wrist-worn physiological sensors that ultimately led
28   to the W1. Ex. Q ¶¶8, 13.

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1           Manufacturing Costs. Masimo identified
2
3                         Masimo explained the analysis is “relevant to determining Masimo’s
4    lost profits                                                                     Id.
5           In 2022, Priddell
6                                                                Masimo
7
8
9
10          Apple initially objected to the timing of
11                                   But then Apple specifically exempted these documents
12   from those it sought to preclude Masimo’s experts from relying on. Ex. R.
13   D.     Kinrich’s October Report
14          1.      Kinrich’s Lost Profits Opinion
15          Kinrich has not opined on whether Apple’s misappropriation caused Apple to
16
17                                 Rather, Kinrich assumes
18
19          Kinrich also assumes that
20
21          Based on those assumptions, Kinrich calculates the profit Masimo would have
22   made                                                    Kinrich first accounts for
23
24                                              Kinrich then accounts for
25
26                                                      Kinrich then calculated
27
28   Kinrich then determined

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1    of some facts like
2    However, the Court found that Priddell ventured beyond his percipient knowledge when
3    he addressed
4
5    F.      Kinrich Supplemented His Report After the Court’s Order
6            Following the Court’s Order, Kinrich prepared a supplement using the same
7    methodology and analysis as his original report. Ex. 7. As explained below, Kinrich
8    ran alternate calculations based on data that Masimo had disclosed earlier and Apple has
9    not challenged.
10           For Masimo’s development time, Kinrich confirmed his prior assumption about
11   the time it would have taken
12           For Masimo’s development costs, Kinrich used
13                                                                      As Kinrich explained,
14   this did not materially change his calculations.
15                            Indeed, he explained that excluding
16
17           For Masimo’s           manufacturing costs, Kinrich used
18                                     instead of                           He explained that
19   such                 “are among the many types of financial data that I and other damages
20   experts rely on regularly in calculating damages.” Id. ¶2. Using              rather than
21
22           For Apple’s cost savings, Kinrich ran the same calculations from his original
23   report using
24                                  He explained his estimate was reasonable because
25
26   Using
27                  while using
28

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1    G.    The Court Denies Apple’s Ex Parte Application To Strike The Supplement
2          On December 2, Apple filed an ex parte application to strike Kinrich’s
3    supplement. Dkt. 1052. The Court denied the application without prejudice. Dkt. 1068
4    at 1. The Court found the supplement included “slightly revised calculations, which are
5    based on the same methodology as his October 2022 report.” Id. at 2. The Court
6    accepted Masimo’s offer to allow Apple to provide a rebuttal report. Id. at 3.
7          On December 13, Apple’s damages expert responded to Kinrich’s four-page
8    supplement with an eleven-page rebuttal addressing Kinrich’s supplement. Ex. T. The
9    parties deposed each other’s damages experts weeks later.
10                                 III. LEGAL STANDARD
11         Expert testimony is admissible if the party offering such evidence shows the
12   testimony is both reliable and relevant. Fed. R. Evid. 702; Kumho Tire Co. v.
13   Carmichael, 526 U.S. 137, 147 (1999); Daubert v. Merrell Dow Pharms., Inc., 509 U.S.
14   579, 590-91 (1993). “An expert may base an opinion on facts or data in the case that
15   the expert has been made aware of or personally observed.” Fed. R. Evid. 703. “If
16   experts in the particular field would reasonably rely on those kinds of facts or data in
17   forming an opinion on the subject, they need not be admissible for the opinion to be
18   admitted.” Id.
19         “[A]n expert is permitted wide latitude to offer opinions, including those that are
20   not based on firsthand knowledge or observation.” Daubert v. Merrell Dow Pharms.,
21   Inc., 509 U.S. 579, 592 (1993). “Expert witnesses may rely on inadmissible hearsay in
22   forming their opinions, so long as it is of a type reasonably relied upon by experts in
23   their field.” United States v. Cazares, 788 F.3d 956, 977 (9th Cir. 2015); see also Tate
24   v. Kaiser Found. Hosps., 2014 WL 176625, at *5 (C.D. Cal. Jan. 15, 2014) (expert may
25   rely on hearsay records despite deficiencies in declaration related to those records).
26         “[T]he general law as to the proper measure of damages in trade secret cases is
27   far from uniform.” Litton Sys., Inc. v. Ssangyong Cement Indus. Co., 1993 WL 317266,
28   at *1 (N.D. Cal. Aug. 19, 1993) (“courts have considerable leeway in calculating a

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1    damage award for trade secrets theft”). Once a trade secret plaintiff establishes the fact
2    of their harm, courts are much more lenient in determining the amount of damages. ATS
3    Prod. Inc. v. Ghiorso, 2012 WL 253315, at *1 (N.D. Cal. Jan. 26, 2012) (citing Tri-Tron
4    Int’l v. Velto, 525 F.2d 432, 436 (9th Cir. 1975).
5                                        IV. ARGUMENT
6    A.    The Court Should Not Strike Kinrich’s Opinions
7          Apple argues Kinrich’s opinions “are premised on material that this Court
8    excluded.” Br. at 10. Throughout its brief, Apple asserts the Court’s Order struck
9    “information,” “analyses,” “points,” “theories,” and more. Not so. The Order struck
10   portions of Muhsin’s and Priddell’s “opinions.” It did not appear to strike the facts
11   themselves. And the Court explained it was not addressing the sufficiency of other
12   expert opinions. Ex. S at 24-25.
13         Apple now attempts to radically expand the Court’s Order to exclude Masimo’s
14   entire lost profits theory because Apple asserts Kinrich relies on stricken aspects of the
15   Muhsin and Priddel disclosures. Though Kinrich cited to portions of Muhsin’s and
16   Priddell’s disclosures, his opinions do not depend on their stricken opinions. Kinrich’s
17   opinions are well supported by timely disclosed facts. Apple does not appear to dispute
18   that Kinrich can reasonably rely on facts, regardless of their admissibility, to support his
19   damages opinions. Rather, Apple incorrectly asserts that “Plaintiffs do not identify the
20   permissible ‘facts’ on which Kinrich purportedly relies.” Br. at 15. As discussed below,
21   Kinrich’s original report, and his supplement, identify the “facts” on which he
22   reasonably relies.
23         1.         Kinrich’s Opinions Are Based on Facts Disclosed to Apple in
24                    Discovery—Not Stricken Opinions of Priddell And Muhsin
25         Apple argues certain Kinrich opinions “are predicated on excluded opinions and
26   analyses performed by Muhsin and Priddell.” Br. at 10. Apple challenges four aspects
27   of Kinrich’s report: (a)
28              (b)                                (c)                                   and (d)

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1    Apple’s                              Br. at 11. As explained below, Apple is wrong on all
2    four aspects.
3                    a.    Masimo’s
4          Apple argues Kinrich “relies” on Muhsin’s opinion on
5                                                                                         Apple
6    also argues Kinrich “relies” on Muhsin’s opinion that
7                                                 While Kinrich cited Muhsin’s opinions, his
8    analysis does not depend on any such opinions. Rather, Kinrich assumes
9
10         Masimo will prove Kinrich’s assumption at trial without Muhsin providing any
11   stricken opinions. Masimo will use other evidence, for example, evidence showing
12
13
14         Apple argues Kinrich improperly “relies” on a conversation with Muhsin about
15                                                                             Kinrich cited the
16   conversation, but his opinions do not depend on the conversation because he assumed
17   this fact is true. Regardless, as Apple recognizes, experts are permitted to rely on such
18   conversations. As explained in Masimo’s co-pending contingent motion to strike,
19   Apple’s damages expert opined on numerous issues based on an unrecorded interview
20   with an Apple employee. Dkt. 1121-1 at 10. Masimo submits that experts from both
21   sides should be allowed to interview party employees and obtain specific facts from
22   them during the expert phase, as experts often do.
23                   b.    Masimo’s
24         Apple argues Kinrich “relies” on Muhsin’s
25                            While Kinrich cites Muhsin’s disclosure, Kinrich’s opinion does
26   not depend on any                                                   . Rather, Kinrich uses
27   Masimo’s spreadsheets showing estimates of the actual costs of
28                   That is entirely proper. See BJ Tidwell Industries, Inc. v. Diversified Home

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1    Prods., Inc., 2007 WL 3118300, *2 (W.D. Tex., Oct. 19, 2007) (damages expert properly
2    relied on client’s summary spreadsheets); SolidFX, LLC v. Jeppesen Sanderson, Inc.,
3    2014 WL 983507, *6 (D. Colo. Mar. 13, 2014) (same).
4          Masimo estimated development costs of             because
5                                                               Kinrich properly relied on
6    Masimo’s estimates.       See R.F.M.A.S., Inc. v. So, 748 F.Supp.2d 244, 269
7    (S.D.N.Y.2010) (“[u]nless the information or assumptions that [a party’s] experts relied
8    on were so unrealistic and contradictory as to suggest bad faith, inaccuracies in the
9    underlying assumptions or facts do not generally render an expert’s testimony
10   inadmissible.”).
11         Masimo disclosed these estimates as relevant to damages. Ex. L at 15-16, 27.
12   Masimo’s interrogatory responses also explained that
13                                                       is relevant to damages here.2 Id. at
14   14, 27. The initial determination in the ITC investigation recently found that
15                        satisfied the economic prong of the ITC’s domestic industry
16   requirement. Ex. Q ¶¶8, 13. This finding supports the reliability of these costs and
17   confirms Apple’s familiarity with the documents.
18         Because of Masimo’s Rule 26(e)(1)(a) obligations to supplement, Masimo
19   updated                                                     . Masimo also amended its
20   interrogatory response to identify that data as relevant to damages. Kinrich’s October
21   Report then relied on                                                            because it
22   was the most up-to-date information available.
23         If the Court were to preclude Kinrich from mentioning the portion of Muhsin’s
24   disclosure relating to                   at trial, Kinrich’s October report would allow
25
     2
26    The Court previously found Masimo did not show the ITC proceedings put Apple on
     notice of Masimo’s damages theories. Dkt. 1031 at 11. Masimo is not arguing the ITC
27
     proceedings notified Apple of Masimo’s damages theories but merely that Apple took
28   extensive discovery on Masimo’s                       .

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1    him to calculate damages using                                                             .
2    Moreover, if the Court were to preclude Kinrich from mentioning Muhsin’s disclosure
3    and                   , Kinrich’s supplement would allow him to calculate damages using
4                                      only. Kinrich explained his calculations based on
5                             are virtually identical to his original calculations. Ex. 7 ¶¶7-8.
6    In fact, Kinrich showed that his calculations do not materially change even if he does
7    not account for any                                . Id. ¶9.
8          Apple argues Kinrich improperly cites a conversation with Muhsin about
9                                                      While Kinrich cites to that conversation,
10   his opinion does not depend on the conversation. Instead, Kinrich uses
11                                . Regardless, as discussed above, experts are permitted to
12   rely on such conversations and Apple’s expert did the same. See Dkt. 1121-1 at 10-11.
13                c.    Masimo’s
14         Apple argues Kinrich “relies” on Priddell’s opinion regarding
15                                                      Not so. Priddell’s disclosure referred to
16                                      . But Kinrich cites the portion of Priddell’s disclosure
17
18         Kinrich assumes                                                                   is a
19   reasonable proxy for                                                               . Apple
20   can cross-examine Kinrich, and any other Masimo witness, on the reasonableness of that
21   assumption. Apple cites no authority or rationale to strike Kinrich’s entire lost-profits
22   analysis under these circumstances. Ex. 4 ¶¶99-101; Ex. 7 ¶2.
23         As with                       Masimo explained in an interrogatory response that
24                          are relevant to damages. Ex. L at 22, 28. And, again, Apple does
25   not argue the costs are inaccurate or unreliable. See R.F.M.A.S., Inc., 748 F.Supp.2d at
26   269. Masimo provided                                                         as required by
27   Rule 26(e)(1)(a). Ex. 1 at 3. Masimo also amended its interrogatory response to identify
28   those costs as relevant to damages. Ex. L at 28. Kinrich’s October Report relied on

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1                                as the most up-to-date information available.
2           If the Court were to preclude Kinrich from mentioning Priddell’s disclosure at
3    trial, Kinrich’s October report would allow him to calculate damages directly from the
4    2022 update.       Moreover, if the Court were to preclude Kinrich from mentioning
5    Priddell’s disclosure and the 2022 update, Kinrich’s supplement would allow him to
6    calculate damages using the 2021 analysis only. Masimo performed the 2021 analysis
7    in the ordinary course of business, providing additional “indicia of reliability.” Scott v.
8    Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 52 (S.D.N.Y. 2016). Kinrich explained
9    that a manufacturer’s estimates of their manufacturing costs are the type of data he and
10   other damages experts regularly rely on. Ex. 7 ¶2.
11          Accordingly, Kinrich can properly rely on
12                          from 2021, or the 2022 update.
13                 d.     Apple’s
14          Apple argues Kinrich relies on Priddell’s opinion identifying
15
16       Though the Court struck Priddell’s Rule 26(a)(2)(C) disclosure regarding
17                                     the Court did not address the impact of that decision on
18   Kinrich’s analysis (Ex. S at 24-25). Experts are allowed to base their opinions on
19   evidence not admitted at trial “so long as it is of a type reasonably relied upon by experts
20   in their field.” Cazares, 788 F.3d at 977.
21          As Apple recognizes, experts may base their opinions on analyses performed by
22   party employees for the litigation. As explained in Masimo’s co-pending contingent
23   motion to strike,
24   solely for this litigation, and                                              Apple did not
25   disclose any information about this                        during fact discovery. Id. The
26   Apple engineer served no disclosure and provided no basis to understand his analysis.
27   Thus, although both parties’ experts relied on party-employees’ analyses created for the
28   litigation, Masimo provided notice of the employee analysis in the form of a Rule

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1    26(a)(2)(C) disclosure while Apple did not. Thus, Masimo was far more forthcoming
2    about its employee analysis than Apple. Regardless, Masimo contends that experts for
3    both parties should be allowed to base their opinions on such analyses.
4          However, if the Court were to preclude Kinrich from referring to Priddell’s cost
5    savings analysis at trial, Kinrich’s supplement offers an alternative calculation based on
6    the same methodology and analysis as his original report.          Kinrich’s supplement
7    estimated                         based on
8                               He performed two alternative calculations, one using the data
9    in                                              , and another using
10              As discussed, Masimo’s interrogatory responses identified both spreadsheets as
11   relevant to damages. Kinrich explained that using                               decreases
12   his calculation while using                               increases his calculation. See
13   supra, Section II.F.
14         2.       Apple’s Cases Do Not Support Exclusion
15         Apple cites several cases for the proposition that experts cannot rely on opinions
16   or theories that have been found unreliable. See Br. 10. For example, Apple cites
17   Abarca v. Merck & Co., 2010 WL 4643642 (E.D. Cal. Nov. 9, 2010), for the proposition
18   that an expert cannot make “assumptions lacking any factual foundation in the record.”
19   Id. at *4. In Abarca the expert relied on an assumption that was indisputably false. Id.
20   Apple also cites San Francisco Baykeeper v. City of Sunnyvale, 2022 WL 4133299 (N.D.
21   Cal. Sept. 12, 2022), and several other cases for the proposition that an expert cannot
22   rely on “another expert’s theories that have been or may be excluded as unreliable.” Id.
23   at *10. These cases are inapposite. As explained above, Apple does not contest that
24   Kinrich’s opinions are based on his own reliable methodology supported by a type of
25   data on which experts regularly rely.
26         3.       The Court Should Not Strike Kinrich’s Supplement
27                  a.    Courts Allow Supplements In Response To Court Orders
28         Kinrich’s supplemental report was timely because courts routinely allow experts

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1    to supplement their opinions to address criticism or court orders. For example, “Courts
2    in the Central District of California (and elsewhere in the 9th Circuit) have regularly
3    allowed experts to submit supplemental reports to address arguments raised for the first
4    time in a rebuttal expert report.” International Medical Devices, Inc. v. Cornell, 2022
5    WL 2784806, *3 (C.D. Cal. June 16, 2022). This Court also permitted damages
6    supplements to supply a missing link in a cost analysis, where the numbers changed but
7    the conclusions remained the same. Sportspower Ltd. v. Crowntec Fitness Mfg. Ltd.,
8    2020 WL 7347860 *4 (C.D. Cal. Nov. 18, 2020).
9          Another court permitted a supplement in response to Defendant’s critique of the
10   original report. See Confederated Tribes of Siletz Indians of Oregon v. Weyerhaeuser
11   Co., 2003 WL 23715981 *2 (D. Or. Jan. 21, 2003).                 The court permitted the
12   supplemental expert report after summary judgment—much later than the supplement
13   here. The court reasoned that striking the supplement would place “undo emphasis on
14   law as a contest of skill between rival lawyers, at the expense of doing justice.” Id. The
15   court explained, “if there is sufficient evidence to support the Plaintiffs’ case, I will not
16   exclude that evidence simply because Plaintiffs failed to anticipate the need for it until
17   the defect was pointed out by their opponent.” Id.
18         Apple itself has provided damages expert supplements in other cases after the
19   initial report deadline. See Apple, Inc. v. Samsung Elecs. Co., 2014 WL 1322854, at *4
20   (N.D. Cal. Mar. 28, 2014). Apple justified that supplement because “both sides timely
21   exchanged supplemental reports on a deadline the parties had agreed upon.” Dkt. 1063
22   at 2. The purpose for that exchange was to address “updated sales information.” Apple,
23   2014 WL 1322854, at *1. But Apple used the supplement to also offer a new analysis
24   in response to an order issued three months earlier in a related case. Id. *1-2. Despite
25   serving a late supplement beyond the purpose of the stipulated exchange, the court
26   permitted Apple’s supplement. Id.
27         As discussed below, Kinrich timely served his supplement just days after the
28   Court’s Order, consistent with the law.

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1
2                 b.     The Supplement Was Timely
3          Kinrich timely supplemented his report four business days after the Court’s Order
4    on the Rule 26(a)(2)(C) disclosures. If anything, he did so earlier than necessary. The
5    caselaw discussed above would have supported Kinrich supplementing if the Court were
6    to preclude him from relying on information identified in his original report. Kinrich
7    supplemented early, which allowed Apple’s expert to respond and Apple to question
8    Kinrich about his supplement during his deposition. Moreover, as the Court found, the
9    supplement included “slightly revised calculations, which are based on the same
10   methodology as his October 2022 report.” Dkt. 1052 at 2.
11         Apple argues supplementation cannot “remedy a deficient expert report.” Br. at
12   16-17 (quoting Rojas v. Marko Zainovich, Inc., 2011 WL 4375297, *6 (E.D. Cal. Sept.
13   19, 2011). But in Rojas, the deficiency was that the expert had not reviewed the
14   documents relied on in his report. The court determined the expert’s “lack of preparation
15   and failure to review documents…is not a proper basis for supplementing.” Id. Here,
16   the supplement was not to cure any lack of preparation. Rather, Kinrich supplemented
17   to provide alternative calculations that do not depend on material Apple is challenging.
18         Apple’s reliance on Reinsdorf v. Skechers U.S.A., 922 F. Supp. 2d 866 (C.D. Cal.
19   2013), is inapposite. There the court excluded an expert’s supplemental report because
20   it presented a new opinion. Here, Kinrich’s supplement does not include a new opinion.
21                c.     The Supplement Was Substantially Justified And Harmless
22         Apple argues the supplement was not substantially justified because Apple
23   objected to the Muhsin and Priddell disclosures before Masimo served Kinrich’s original
24   report. Br. at 17. Apple did so in a short letter a few days before Kinrich’s expert report
25   was due. Apple objected to four Rule 26(a)(2)(C) disclosures on various grounds.
26   Masimo disagreed and the Court struck only some portions of two of the four disclosures
27   Apple challenged. Kinrich then supplemented four business days after the Order to
28   address any potential impact on his opinions. The Court’s Order substantially justifies

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1    the timing of Kinrich’s supplement.
2          The Kinrich supplement was also harmless. The Court found the supplement
3    included “slightly revised calculations, which are based on the same methodology as his
4    October 2022 report.” Dkt. 1052 at 2. As discussed, Kinrich provided the supplement
5    earlier than necessary under relevant caselaw. After receiving Kinrich’s four-page
6    supplement, Apple’s damages expert prepared an 11-page rebuttal. Ex. T. And Apple
7    deposed Kinrich on his supplement. Apple’s opportunity to prepare a supplement and
8    take a deposition cured any alleged harm. See Becerra v. J.C. Penney Corp., Inc., 2017
9    WL 1479410, at *3 (C.D. Cal. Apr. 24, 2017) (deposition cured alleged harm from
10   untimely disclosure); Stonefire Grill, Inc. v. FGF Brands, Inc., 2013 WL 12126773, at
11   *5 (C.D. Cal. June 27, 2013) (same).
12         Apple claims the supplement is “highly prejudicial” because it “attempts to
13   resurrect damages theories” that Apple contends “should be excluded.” Br. at 17-18.
14   The Court has not stricken any damages theory in Kinrich’s report. To the contrary, the
15   Court explained that it has not yet addressed the admissibility of expert opinions and the
16   Court would evaluate them based on “the sufficiency of the report and the bases for the
17   opinions.” Ex. S at 24-25. Moreover, Apple identifies nothing specific that it would
18   have done differently if Kinrich’s October report had included the alternative
19   calculations set forth in the supplement. Thus, the supplement was harmless.
20   B.    Kinrich’s Opinions are Reliably Connected to Apple’s Misappropriation
21         Apple argues that “Kinrich has failed to comply with” the legal requirement to
22   establish causation. Br. at 18. Apple is wrong to suggest that a damages expert must do
23   so. To the contrary, Kinrich properly assumed that Masimo will establish liability and
24   causation. See Spintouch, Inc. v. Outform, Inc., 2022 WL 17363902, at *6 (C.D. Cal.
25   Sept. 28, 2022) (“it is well-established that experts on damages can assume causation”);
26   Orthofix Inc. v. Gordon, 2016 WL 1273160, at *3 (C.D. Ill. Mar. 1, 2016) (“the
27   report assumes that Gordon’s departure prompted a loss in sales, and sets out to quantify
28   that loss amongst certain doctors over time on the basis of the initial assumption…It is

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1    entirely appropriate for a damages expert to assume liability for the purposes of his or
2    her opinion. To hold otherwise would be illogical.”); Luitpold Pharms., Inc. v. Ed.
3    Geistlich Sohne A.G. Fur Chemische Industrie, 2015 WL 5459662, at *10 (S.D.N.Y.
4    Sept. 16, 2015) (“[A] damages expert does not need to perform her own causation
5    analysis to offer useful expert testimony.”); Gaedeke Holdings VII, Ltd. v. Baker, 2015
6    WL 11570978, at *3 (W.D. Okla. Nov. 30, 2015) (“Proof of causation often comes from
7    fact witnesses, and it is appropriate for expert witnesses to assume causation will be
8    established and then proceed to calculate the damages.”); BladeRoom Grp. Ltd. v.
9    Facebook, Inc., 2018 WL 1611835, at *6 (N.D. Cal. Apr. 3, 2018) (“Nor must a damages
10   expert establish causation before his or her opinion becomes admissible.”)
11         Apple makes two specific arguments. First, Apple argues Kinrich “does not
12   distinguish between the damages that would be awarded” based on the number of trade
13   secrets Apple misappropriated. Br. at 18. Apple’s argument ignores Masimo’s damages
14   theory. Masimo contends that Apple’s misappropriation of one or more trade secrets
15   caused                                                        Masimo’s lost profits are
16   the same regardless of how many trade secrets Apple misappropriated. Of course, the
17   jury will decide whether Masimo proved that misappropriation of one or more trade
18   secrets caused                                     .
19         Second, Apple argues “Kinrich does not distinguish between or among the alleged
20   harms from disclosure, use, or acquisition.” Br. at 19. Apple further criticizes Kinrich
21   for not analyzing Apple’s use of the trade secrets by insinuating Kinrich assessed
22   damages based on the number of times Apple “used” Masimo’s trade secrets. Id. at 20
23   (“Kinrich assessed damages on a per use basis”). He did not. Rather, as Apple concedes
24   in the next sentence, Kinrich’s lost profits and unjust enrichment calculations “vary
25   based on the number of Apple Watches sold”—not the number of times Apple “used”
26   the trade secrets. Id. at 19-20. Kinrich’s calculation depends on the number of watches
27   sold because Masimo asserts that
28                       but for the misappropriation. Thus, Kinrich’s calculations do not

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1    depend on the specifics of how Apple misappropriated Masimo’s trade secrets.
2          Moreover, case law does not require Kinrich to assign value to individual trade
3    secrets, or account for different ways of misappropriating them. A trade secret plaintiff
4    need not apportion damages to individual trade secrets. SPS Techs., LLC v. Briles
5    Aerospace, Inc., No. CV 18-9536-MWF (ASX), 2021 WL 4913509, at *3 (C.D. Cal.
6    Sept. 8, 2021) (“Plaintiff argues that California law does not require apportionment of
7    damages on a trade-secret-by-trade-secret basis. The Court agrees.”). SPS specifically
8    confirms that Kinrich properly calculated “lost profits in lieu of assigning a value to the
9    trade secrets themselves.” Id. SPS further explained that the defendant’s reliance on
10   O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064, 1077 (N.D.
11   Cal. 2005), which Apple cites in its motion, was “misplaced because the court in [O2
12   Micro] required apportionment where the damages were measured by the value of the
13   trade secrets themselves.” Id. (emphasis in original).
14         Apple also wrongly contends that Kinrich’s damages model “ignores legal
15   requirements of causation and defies common sense.” Br. at 20. Apple appears to argue
16   that no reasonable juror could find that misappropriating only one trade secret could
17   have caused                                                      . But Apple provides no
18   authority or analysis to support such an argument. And Apple did not move for summary
19   judgment on this issue. Thus, the jury will decide the issue.
20         Rather than address Masimo’s actual damages theory, Apple cites a string of cases
21   that are inapplicable because they address different damages theories.
22         For example, Apple cites Shell & Slate Software Corp. v. Adobe Sys. Inc., 2004
23   WL 5486635 (C.D. Cal. Sept. 17, 2004), as excluding an opinion that was “inherently
24   unreliable and speculative.” Br. at 19. Shell & Slate is irrelevant because, as discussed
25   above, Kinrich’s opinions are neither inherently unreliable nor speculative.
26         In LivePerson, Inc. v. [24]7.AI, Inc., 2018 WL 6257460 (N.D. Cal. Nov. 30,
27   2018), the damages expert assumed that the plaintiff would establish liability on all 28
28   of its trade secrets. He had no opinion on damages if the jury found liability for less

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1    than all trade secrets. Id. at *2. The plaintiff, however, did not even plan to assert all
2    trade secrets at trial. Id. Here, Kinrich’s opinion does not depend on establishing
3    liability for all asserted trade secrets.
4           In 02 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 399 F. Supp. 2d 1064 (N.D.
5    Cal. 2005), as explained above, the expert modeled damages based on the value of the
6    trade secrets themselves rather than the plaintiff’s lost profits. Kinrich’s model does not
7    rely on the value of any trade secret.
8           Finally, Apple cites the concurring opinion in Bladeroom Grp. Ltd. v. Emerson
9    Elec. Co., 20 F.4th 1231 (9th Cir. 2021). That concurrence argued that the damages
10   expert could not attribute the entire value of the sale of a division of a company to a
11   trade secret because the expert conceded the division had value unrelated to the trade
12   secret. Id. at 1250. Kinirich’s damages are based on                                  , not
13   based on the sale of any entity.
14          Apple’s attacks on Kinrich’s unjust enrichment calculations fail for similar
15   reasons. Apple contends that Masimo seeks unjust enrichment “even if there is no
16   allegation of Apple using the purported secret in connection with” the blood-oxygen or
17   ECG features. Br. at 20. Masimo will present evidence from which a reasonable jury
18   could conclude that
19                            and
20                                          See e.g., Dkt. 1082-16; 1082-21; 1117-4. Kinrich
21   calculated Apple’s unjust enrichment by assuming Masimo will prove its case and
22   apportioning Apple’s profit
23                     If Apple believes the jury’s liability verdict is inconsistent with its
24   damages verdict, Apple can present such arguments on JMOL after trial. They present
25   no basis for Daubert.
26          Finally, Apple argues Kinrich’s lost profits and “cost savings” unjust enrichment
27   opinions are flawed because they would apply even if the trade secrets were used neither
28   by                                                 As discussed above, Kinrich properly

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1    assumed Masimo will prove Apple misappropriated Masimo’s trade secrets. He also
2    properly assumed that, but for Apple’s misappropriation,
3                              Apple does not explain why the                           must
4    use Masimo’s trade secrets. But Madisetti provided such an opinion anyway. Dkt.
5    1082-16 ¶90 (opining                                                  uses certain trade
6    secrets). Therefore, Kinrich’s opinions are properly premised on Masimo’s but-for
7    world.
8                                     V. CONCLUSION
9          For the foregoing reasons, the Court should deny Apple’s motion.
10
11                                               Respectfully submitted,
12                                               KNOBBE, MARTENS, OLSON & BEAR, LLP
13
14   Dated: January 17, 2023                 By: /s/ Mark D. Kachner
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1                                  CERTIFICATE OF COMPLIANCE
2               The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,802 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
                                                    Respectfully submitted,
7
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10                                                   Joseph R. Re
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